

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-72,148-02






EX PARTE JOSEPH DENNIS LEWIS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 1060932 IN THE 178TH DISTRICT COURT


FROM HARRIS COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of murder and
sentenced to imprisonment for life.  The Fourteenth Court of Appeals affirmed his conviction.  Lewis
v. State, 14-07-00377-CR (Tex. App.--Houston [14th Dist.] May 29, 2008, pet. ref'd).

	Applicant contends, among other things, that trial counsel failed to object to victim impact
evidence.  The trial court recommended that we deny this application because, when it was filed in
Harris County, Applicant's direct appeal was pending before the Fourteenth Court of Appeals. 
Applicant's conviction was final for purposes of Article 11.07 when his application was filed in
Harris County.  Ex parte Webb, 270 S.W.3d 108, 111 (Tex. Crim. App. 2008).

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 668 (1984); Ex parte Patterson, 993 S.W.2d 114, 115 (Tex. Crim. App. 1999).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall order trial counsel to respond to Applicant's claim.  The trial court may use any means set out
in Tex. Code Crim. Proc. art. 11.07, § 3(d).   

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent.  
If Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact and conclusions of law as to whether the
performance of Applicant's trial counsel was deficient and, if so, whether counsel's deficient
performance prejudiced Applicant.  The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court.

Filed: October 3, 2012

Do not publish


